Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 1 of 11



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                            SO U TH ER N DISTR IC T O F FL O RIDA

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                                             zobk -3é0
  UN ITED STA TE S O F AM ER ICA

  V.

 FM NCISCO CUBERO ,

                          Defendant.
                                              /


                                 CRIM INAL COVER SHEET

  1.    Did thism atteroriginate from a m atterpending in the N orthern Region ofthe United States
        Attorney's Oftice priorto O ctober 14,2003?            Y es      X No

        Did thism atteroriginate from amatterpending in the CentralRegion oftheUnited States
        Attom ey's Office priorto Septem ber 1,2007?          Yes X N o

                                                    Respectfully subm itted,

                                                    W IFRED O A .FERR ER
                                                    UN ITED STA TES A TTO RN EY



                                             BY :
                                                    V ne s S.Johannes
                                                    AssistantUnited StatesAttorney
                                                    CourtID N o.A 5501644
                                                    99 N .E .4th Street
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                                                    Fax:(305)579-7976
                                                    Vanessa.s.lohaM es@usdoj.gov
  Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 2 of 11

AO91(Rev.08/09) Cri
                  minalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                          forthe
                                                SouthernDistrictofFlorida

              United StatesofAmerica
                           V.
                                                                    casexo.yz -ao:t-''T G0
                  FRANCISCO CUBERO




                                                 CRIM INAL COM PLAINT

        1,thecom plainantin thiscase,statethatthefollowing istrueto thebestofIpy knowledge and belief.
On oraboutthedattts)of 12/16/11toonoraboutQ1/19/12 inthecountyof                                   Miami-Dade       inthe
                                                                      7
                                                                      L
    southern    Districtof      Flori
                                    da      ,thedefendantts)violated: .
          CodeSection                                                 OffenseDescri
                                                                                  ption
Title 18,United States Code,                Defendantdid knowingl
                                                                y receive,distribute,l
                                                                                     4nd possessanyvi
                                                                                                    sualdepicti
                                                                                                              on
Section2252(a)(2)(B)                        thathad been shipped and transpoded in interstate and foreign commerce,
                                        .
                                            m öinandaffectinginterstateandforeigncommerce,andwhichwas
Title 18,United States Code,                pYoduiedusingmaterialswhichhavebeenMailed,shipped,andtranspoded
Section2252(a)(4)(B)                        in interstate and foreign commerce byany Means,including by computer,
                                            andtheproductionofsuchvisualdepiction11
                                                                                  $volvedtheuseofaminor
                                            engaged insexuallyexplici
                                                                    tconduct,ands* hvisualdepictionwasofsuch
                                            conductdinviolation offederall4w.           à

      Thiscriminalcom plaintisbased on thwse facts:
SEE AFFIDAVIT OF SPECIAL AGENT TIMOTHY R.DEVINE.




        W Continuedontheattachedsheet.
                                                                           r''                                  1
                                                                        .+''.                 .



                                                                                        Complainant'
                                                                                                   ssignature

                                                                                 S ecialA entTimoth R.Devine HSI
                                                                                        Printednameand title

Swornto before meand signed in my presence.
                                                                                                          .#

                                                                                                  ..w '


Date:         01/19/2012                                                                    ta
                                                                                  .         Judge'
                                                                                                 ssignature

City and state:                    Miami,Florida                       Honor bIe Ma istrate Jud e JohnJ.O'Sullivan
                                                                                        Printednameandtitle
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 3 of 11



                 AFFIDAVIT IN SUPPORT O F CRIM INAL COM PLAINT

           1,SpecialAgent Tim othy R.Devine,having been first duly sworn,do hereby

    deposeand state asfollows:

                                        INTRODUCTION

                    lam aSpecialAgent(SA)with Homeland Security lnvestigations(HSl),
    lmmigration and CustomsEnforcement(ICE),SAC-M i- i,andhavebeen so employed
    since Odober2010. Since January of2011,Ihave been assigned to the South Florida

    Hum an Traftk king Task Force where I investigate,among other violations of federal

    law, cases involving the sexual exploitation of wom en and children. Prior to my

    employm entwith HSI,I was comm issioned as a SpecialAgentwith the United States

    SecretService(USSS)from Aprilof1999 to Octoberof2010. From 2002 to December
    of 2008, l was assigned to the M iami Electronic Crimes Task (M ECTF) where I
    specialized in the investigation oflntem etchild exploitation crimes involving traffcking

    and possession of child pom ography, coercion and enticem ent of minors,and child

    prostitution.Duringthattim eIwasacertified forensicexâminerforthe USSS.

                    Currently tand duringmytenurewiththeUSSS),Iwork extensivelywith
    the SpecialVictimsUnits(SVU)()ftheM inmiBeach PoliceDepartmentand theM iami
    Dade Police Department, concentrating on child molestation and lnternet child

    exploitation.

                    Fxom Decemberi008to Octoberof2010,IwasassignedtotheGeorge
    W .Bush Protective D ivision, D allas,Texas,charged w ith protecting form er President

    George W .Bush and form erfirstlady LauraBush.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 4 of 11



                  I have completed the Criminal Investigator Training Progrnm at the

    FederalLaw EnforcementTraining Center(Glynco,Georgia),the USSS SpecialAgent
    Training Course (Beltsville,Marylandl,the Electronic Crimes SpecialAgentProgram,
    and the ICE-HSI SpecialAgentTraining Program (Glynco,Georgia),regarding the
    proper investigative techniques relating to violations of federal laws, including the

    application and execution ofsearch,arrest,and seizurewarrants.

                  As a federal agert, l have participated in investigations of ptrsons

    suspected ofviolating federalchild pornography laws,including Title 18,United States

    Code,Sections 2251,2252 and 2252A. These investigations have included the use of

    surveillancetechniques,undercoveractivities,theinterviewingofsubjectsand witnesses,
    and the planning and execution ofarrest,search,and seizure warrants. In the cotlrse of

    these investigations,Ihavereviewed hundredsofstillim agesand videoscontaining child

    pornography and imagesdepictinj minorchildren engaged in sexually explicitconduct
    on a11 forms of electronic m edia.including com puters,digital cameras, and wireless

    telephones,and have discussed and reviewed these m aterialswith other1aw enforcem ent

    officers.

           6.     I have also participated in training progrnms for the investigation and

    enforcement of federal child pornography laws relating to the use of computers for

    receiving, transmitting, and storing child pornography. As a federal agent I am

    authorized,underTitle 18,United States,Code,Section 3056,to conductinvestigations

    of and execute w arrants for offenses involving the exploitation of children, including

    those offenses enumerated in Titlt:18,United States Code,Sections 2422,2423,2251,

    and 2252,etseq.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 5 of 11



                  l am subm itting this affidavit for the lim ited purpose of establishing

    probable cause for a crim inal complaint charging FRANCISCO CUBERO with

    violating Title 18, United States Code, Sections 2252(a)(2)(B) and 2252(a)(4)(B).
    Accordingly, this affidavit does not contain every fact that I know about this

    investigation. Rather,itincludes those facts necessary to establish probable cause in

    supportof a crim inal complaint. Ibase the facts in this affidavit upon my personal

    knowledge,aswellasknowledgç,infonnation,and docum entation thatlobtained from

    otherIaw enforcementofficers.

                                        PR O B ABLE CA U SE

                  0n Decem ber 16,2011,1aw enforcement,using investigative sohware,

    identifed a user on a peerto ptertile-sharing nttwork who had been recently m aking

    associated with suspected images ofchild pornography available fordistribution on the

    network. Law enforcem entwasable to identify the IP Addressassociated with thatuser

    as75.74.155.54(hereinafterthettTargetIP Address').
                  On Decem ber 17,2011,1aw enforcem entofscers,utilizing P2P softw are

    on an undercover computer, sùccessfully established an Internet connection with a

    computer assigned to the Target IP Address. Once establishing that cormection,1aw

    enforcementdownloaded eighteen (18)images filesthathad been made available for
    sharing from thatcomputer.

                  Thereafter, law enforcement reviewed the contents and titles of the

    eighteen(18)imagefilesdownloaded on December17,2011,from theuserutilizingthe
    TargetIP Address.Thefiletitlesfbrtheeighteen(18)imagefilessuggestedthatthefiles
    contained child pornography and some of the titles included phzases like içchildlover,''
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 6 of 11



    dtpthc''(prdeen hardcore),$$Pedo,''and iûchildporn.''Law enforcement reviewed the
    contentsofthe eighteen (18)image tilesand observed suspected child pornography in
     seventeen(17)oftheimagefilesasdetailedbelow:
                 a. File titled picturesfrom ranchitorpedo dloaded in 2009-pedo kdv

                    kidzillapthctoddlers0yo 1yo2yo 3yo 4yo 5yo 6yo 9yotara babyj
                    (58).jpg,which contains an image depicting a naked preteen female
                    laying on abed with herlegsspread exposing hergenitals.

                 b. File titled Aaaa Preteen Boys Clubom ega K ids Boy Little Illegal

                    Pedo Young Gay Teen Innocent Child 31.jpg,which contains an
                    imagetile depiding three (3)naked preteen /teenageboyslayingon
                    theirstomachsin apileofdil4and exposing theirbuttocks.

                 c. File titled picturesfrom ranchitorpedo dloaded in 2009-pedo kdv

                    kidzilla pthctoddlers0yo 1yo2yo3yo4yo 5yo 6yo gyo tara babyj
                    (48).jpg,which contains an image file depicting a preteen female
                    performingoralsex on an adultmale.

                 d. File titled 1a2-023-063 -12yr old underage child daughter childsex

                    childlover ptsc pthc Ism Isn pedo cum ass pussy hussyfan m afiasex

                    r@ygold sandraIolitapreteen modelbd IsIandjpg,which contains
                    an image file depicting a naked minor fem ale sitting with her legs

                    crossed exposinghergenitals.

                    File titled aaaa boylove gay pedo preteen boy sex child porn 218

                    (2).jpg, which contains an image file depicting a preteen male
                    engaging in analsex with an adultm ale.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 7 of 11




                f. Filetitled (pthcpedopreteen)HQ XXX Porn Pics-lB7.jpg,which
                   containsan image file depicting anaked m inorfemale in a riverwith

                   herlegsopen and hergenitalsexposed.

                g. Filetitled PTH C Pedo NEW Childporn Private Daughter Torpedo

                   R anchi Lolita - V eronica- 1173907670997.jpg,which contains an

                   im age file depiding two naked preteen fem ales sitting on a couch.

                   Both preteen females have their legs spread and are exposing their

                   genitals.

                   File titled PTHC Pedo NEW Childporn Private DaughterTorpedo

                   R anchi Lolita - V eronica- ooo6.
                                                   jpg,which contains an image ;le
                   depicting two naked preteen females sitting on a couch.One ofthe
                   fem aleshal
                             '.hér
                                 c
                                 )legsspread and isexposinghergenitals.

                   File titled pictures from ranchitorpedo dloaded in 2009-pedo kdv

                   kidzilla pthctoddlers0yo 1yo2yo3yo4yo5yo 6yo9yo tarababyj
                   (233).jpg,which contains an image file depicting a naked preteen
                   fem alelayingon abed with herlegsspread and exposinghergenitals.

                   Filetitled PTH C Pedo NEW Childporn Private Daughter Torpedo

                   RanchiLolita - 1262416126082.jpg,which contains an image file
                   depicting a naked preteen /m inorfem ale lying on a bed and exposing

                   hergenitals.

                k. Filetitled PTH C Pedo NEW Childporn Private Daughter Torpedo
                                  L)

                   RanchiLolita - 128578484341.jpg,which contains an image file
                   depicting a naked preteen fem ale who is sitting on the floorwith her
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 8 of 11



                   legsspread exposing hergenitals.An adultfem ale isalso lying on the

                   floorand appearsto beperformingon oralsex onthepreteen fem ale.

                1. File titled aaaa boylove gay pedo preteen boy sex child porn

                   228.jpg,which contains an image file depicting an naked preteen/
                   minorm aleon abed exposing hisgenitalsand anus.

                m .File titled gyo Jenny nude with Iegs spread w ide apart showing

                   pussy -undtrage Iolita r@ ygold ptlw ptsc ddogprn pedo young
                   child sex preteen hussyfan kiddiekiddy porntll.jpg,whichcontains
                   an image file depicting a naked preteen fem ale who is tied to a bed

                   exposing hergenitals.

                n. File titled Im gsrc Ru Pthc Pedo Babyshivid Childlover Private

                   Daughter Torpedo Ranchi Lolita - Family M oments (68).jpg,
                   which containslm im age filedepicting two naked preteen fem ales,two

                   naked adult fem ales, and one naked preteen m ale. The two adult

                   fem ales are touching the naked preteen m ale's penis while the two

                   naked preteen fem aleswatch.

                o. File titled pictures from ranchitorpedo dloaded in 2009-pedo kdv

                   kidzilla pthctoddlers0yo 1yo2yo3yo4yo 5yo 6yo gyo tara babyj
                   (156).jpg,which contains an image tile depicting an adult female
                   sitting in achairand exposingherone ofherbreasts.A preteen fem ale

                   is standing next to the chair and has her m outh on the exposed breast

                   of the adultfem ale.The adultfem ale also appears to have a toddler

                   sitting in herlap.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 9 of 11



                  p. Filetitled pid uresfrom ranchitorpedo dloaded in 2009-pedo kdv

                     kidzilla pthctoddlers0yo 1yo2yo 3yo 4yo 5yo 6yo 9yotara babyj
                     (51).jpg,which contains an image file depicting a naked preteen
                     fem ale standing in abathtub.

                  q. File titled PTHC Pedo NEW Childporn Private DaughterTorpedo

                     R anchi Lolita - M elinda-   7lg.jpg, which contains an image file
                     depicting anaked adultmale sitting with a naked toddler.The toddler

                     is touching the adult m ale's erect penis while the adult m ale is

                     touching /coveringthetoddler'sgenitalswith hishand.

                  Law enforcem entdeterm ined thatthe TargetIP Addresswas assigned to

    Com castInternetServices.

           12.    On January 9,201.
                                  2,your affiant received subpoenaed business records

    from Com castInternetServiceswhich show ed thaton December17,2011,the TargetIP

    Address, 75.74.155.54, was assigned to FRANCISCO CUBERO at 255 N W 45th

    Avenue,M iami,Florida33126(theSf-rargetResidence'').
                  On January 19, 2012,law enforcem ent executed an authorized federal

    search atthe TargetResidence,and seized m ultiple electronic media from the residence,

    including a HP Laptop computer and multiple CD-ROM S. A prelim inary forensic

    examination of the HP Laptop computer revealed peer to peer sohw are and files of

    suspected child pornography in th'
                                     zSaved folder ofthe Frostwire peerto peerprogram .

    The preliminary forensic exnmination also revealed thirteen (13)ofthe aforementioned
    seventeen (17)imagefilesofsuspected child pomography which had been downloaded
    by 1aw enforcem enton Decem ber 17,2011,from the userof IP address 75.74.155.54.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 10 of 11




     Thesethirteen (13)imagetsleswetelocated intheFrostwireSaved folder,inadditionto
     multiple filesofsuspected child pom ography including:

                   a.     File titled Raamat1yo Pedo qqaazz 3Yo Se1 (Ptscl.jpg,which
                          contained an.im age ofan infantholding an adultmalepenis;

                   b.     File titled Qqaazz Pthc Pedo Dad Puts 5 Inches Into Toddler
                          Boy Ass02 (1).jpg,which containsan adultmale penistouching
                          the anusofa.naked maleinfant;and

                          File titled qqaazz pthc pedo dad puts 5 inches into toddler boy

                          ass 08(1).jpg,which contains an image of an adultmale penis
                          ejaculatingc'
                                      nthegenitalsofamaleinfant.
                    'Continuing on $January 19, 2012, law enforcem ent interview ed

     FRANCISCO CUBERO . Priorto the interview ,FM NCISCO CUBERO wasadvised

     ofM iranda rights,which he stated he understood. He waived his M iranda rights both

     verbally and in m iting. FR AN CISCO CUBERO stated he has resided atthe Target

     Residenceforapproximately four(4)years, FRANCISCO CUBERO statedheutilized
     the HP laptop com puter and peer to peer software to download and view child

     pornography. FR ANCISCO CU BERO stated he utilized the search tenn StPTHC''to

     search forfileson thepeerto peernetwork and knew theterm ESPTHC''isassociated with

     child pornography. FRANCISCO CUBERO identified a CD-Rom seized from the

     TargetResidenceascontaining file'
                                     sofchild pom ography.
Case 1:12-cr-20071-PAS Document 1 Entered on FLSD Docket 01/20/2012 Page 11 of 11



                                        C O N CLU SIO N

            15.    Based upon m y training and experience,and as furthersupported by the

     facts in this affidavit,l respectfully submit thatthere is probable cause to believe that

     FR ANCISCO CUBERO did knowingly receive, distribute, and possess any visual

     depiction thathad been shipped and transported in interstate and foreign comm erce,and

     in and affecting interstate and foreign comm erce, and which was produced using

     m aterials which have been m ailed,shipped,and transported in interstate and foreign

     commerce by any m eans, including by computer,and the production of such visual

     depiction involved the use of a rninor engaged in sexually explicit conduct,and such

     visual depiction was of such conduct, in violation of Title 18,United States Code,

     Sections2252(a)(2)(B)and(a)(4)('
                                    B).


     FU RTH ER YO UR A FFIA N T SA YETH N A U G H T.




                                                 Tim ot    .Devine,SpecialAgent
                                                 Ho> eland Security lnvestigations



     Sworn and s    cribed beforeme this19thday ofJanuary, 2012.
                         zr
                              Z

                     A                 Z   '
     H ON   B L JOH N J.O 'SU LLIV A N
     UN ITE STA ES M A G ISTM TE JU D GE
